IQ.AO 2458Case
            (Rev. 2:13-cr-20037-PKH
                  09/08) Judgment in a Criminal Case Document 231
            Sheet I



                                       UNITED STATES DISTRICT COURT
                                                                             Filed 02/19/14                Page 1 of 3 PageID #: 843

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                                                                                                                                                          I
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                       WESTERN                                    District of                                  ARKANSAS
          UNITED STATES OF AMERICA                                        JUDGMENT IN A CRIMINAL CASE
                            v.
        ALEJANDRO GUERRERO-LOPEZ                                          Case Number:                        2:13CR20037-014

                                                                          USM Number:                         46953-308

                                                                          Charles R. Chadwick
                                                                          Defendant's Attorney
THE DEFENDANT:
X pleaded guilty to count(s)       Thirty-Two (32) Of the Indictment on October 31, 2013

D pleaded nolo contendere to count(s)
   which was accepted by the court.
D was found guilty on count(s)
   after a plea ofnot guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                  Nature of Offense                                                            Offense Ended              Count
8 U.S.C. § 1326(a)               Illegal Reentry by a Removed Alien after Conviction for an                    04/22/2013                 32
                                 Aggravated Felony




        The defendant is sentenced as provided in pages 2 through         3               of this judgment. The sentence is imposed within the
statutory range and the U.S. Sentencing Guidelines were considered as advisory.

D The defendant has been found not guilty on count(s)
D Count(s)                                                        D are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change ofname, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenaant must notify the court and United States attorney of material changes in economic circumstances.

                                                                          February 19, 2014
                                                                          Date of Imposition of Judgment



                                                                          IS/ P. K. Holmes III
                                                                          Signature of Judge




                                                                          Honorable P. K. Holmes, III, Chief United States District Judge
                                                                          Name and Title of Judge


                                                                          February 19, 2014
                                                                          Date
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               Sheet 2 - Imprisonment

                                                                                                       Judgment - Page _...:2::...-_ of   3
 DEFENDANT:                       ALEJANDRO GUERRERO-LOPEZ
 CASE NUMBER:                     2: 13CR20037-014


                                                              IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
 total term of:     eighty-seven (87) months. No term of supervised release to follow.




  D       The court makes the following recommendations to the Bureau of Prisons:




  X       The defendant is remanded to the custody of the United States Marshal.

  D       The defendant shall surrender to the United States Marshal for this district:

          D      at                                              D p.m.       on

          D      as notified by the United States Marshal.

          The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

                 before I p.m. on

          D      as notified by the United States Marshal.

          D      as notified by the Probation or Pretrial Services Office.



                                                                     RETURN
 I have executed this judgment as follows:




          Defendant delivered on                                                          to

a _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.



                                                                                                   UNITED STATES MARSHAL



                                                                             By ----------------------~
                                                                                      DEPUTY UNITED ST ATES MARSHAL
AO 2458
          Case 2:13-cr-20037-PKH
           (Rev. 09/08) Judgment in a Criminal Case
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           Sheet 5 - Criminal Monetary Penalties


DEFENDANT:
CASE NUMBER:
                                   ALEJANDRO GUERRERO-LOPEZ
                                   2:13CR20037-014
                                                                                                      Judgment - Page            of
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                                               CRIMINAL MONETARY PENALTIES                                                                       t
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.                                     I
                                                                                                                                                 I




TOTALS
                       Assessment
                   $ 100.00
                                                                            Fine
                                                                          $ -0-
                                                                                                              Restitution
                                                                                                            $ -0-
                                                                                                                                                 I
D The determination ofrestitution is deferred until
     after such determination.
                                                             ---. An Amended Judgment in a Criminal Case (AO 245C) will be entered
D The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
                                                                                                                                                 I
                                                                                                                                                 r
                                                                                                                                                 I
                                                                                                                                                 f
                                                                                                                                                 !
     If the defendant makes a partial payment, each payee shall receive an approximate!~ proi:>ortioned payment, unless specified otherwise in
     the priorit)' order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(1), all nonfederal victims must be paid
     before the United States is paid.

Name of Payee                                    Total Loss*                        Restitution Ordered                 Priority or Percentage




TOTALS
                                                                                                                                                 I1·
                                                                                                                                                  I

D     Restitution amount ordered pursuant to plea agreement $

D     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

D     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

      D the interest requirement is waived for the               D fine     D restitution.
      D the interest requirement for the              D   fine    D restitution is modified as follows:


 *Findings forthe total amount oflosses are required under Chapters 109A, 110, l lOA, and l 13A of Title 18 for offenses committed on or after
 Septemoer 13, 1994, but before April 23, 1996.
